                      Case 1:21-mj-00551-ZMF Document 1 Filed 08/02/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.
                 Pamela Anne Hemphill
                                                                )
                   DOB: XXXXXX                                  )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 January 6, 2021              in the county of                              in the
                                                             , the defendant(s) violated:

            Code Section                                                  Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building ,
        40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.


         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                            Complainant’s signature

                                                                                   David Shumway, Special Agent
                                                                                            Printed name and title



                                                                                                        2021.08.02
Date:             08/02/2021                                                                            18:46:27 -04'00'
                                                                                              Judge’s signature

City and state:                                                                Zia M. Faruqui, U.S. Magistrate Judge
                                                                                            Printed name and title
